Dear Honorable Poulos,
The Attorney General is in receipt of your request for an opinion regarding the "Sunset Laws" of the State of Oklahoma wherein you ask the following question:
    Under 74 O.S. 3909 (1978) and any other applicable provisions of State law, what is the extent of the powers and duties exercised by a statutory entity, as defined by 74 O.S. 3902 (1978), with regard to the collection and expenditure of fees and other monies?
Title 74 O.S. 3903 — 74 O.S. 3908 (1978) list certain statutory entities and the dates upon which they shall be terminated. Title 74 O.S. 3902 (1978) defines "termination date" as ". . . the date provided for termination of legislative authority for the existence of a particular entity. . ." Therefore, upon the date specified for termination of a particular statutory entity, the legislative authority for its existence terminates.
Title 74 O.S. 3909A (1978) provides:
    Any statutory entity which is terminated shall have a period of one (1) year after its termination date for the purpose of ceasing its affairs and termination shall not reduce or otherwise limit the powers, duties or functions of said entity. Upon the expiration of the one-year period, the entity and its personnel positions shall be abolished.
By virtue of this Section, although the legislative authority for a statutory entity no longer exists, a terminated entity has a period of one year after its termination date for the purpose of ceasing its affairs, and even though this Section provides that termination shall not reduce or otherwise limit the powers, duties or functions of a terminated entity, a terminated entity cannot conduct any activities or do any acts except those which are in the ordinary course and for the purpose of ceasing its affairs. However, a terminated entity can collect any monies which were due and owing or complete any business which was pending as of the termination date.
Therefore, it is the opinion of the Attorney General of the State ofOklahoma that a statutory entity which has been terminated pursuant to 74O.S. 3903 — 74 O.S. 3908 (1978) can collect fees and other debtswhich were due and owing as of the termination date and can also makeexpenditures of monies as may be necessary to wind up the affairs of theentity.
JAN ERIC CARTWRIGHT, ATTORNEY GENERAL OF OKLAHOMA
LEE ANNE WILSON-ZALKO, ASSISTANT ATTORNEY GENERAL